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                               UNITED STATES DISTRICT COURT                      SUPPRESSED
                               EASTERN DISTRICT OF MISSOURI                                          fFBLED
                                     EASTERN DMSION
                                                                                                  OCT 1 0 2018
  UNITED STATES OF AMERICA,                             )                                      EAU.S. DISTRICT COURT
                                                        )                                        STERN DISTRICT OF MD . ·
                                                        )                                            ST. OLI~
                         Plaintiff,

  vs.                                                   j 4:18CR836 CDP/SPM
                                                        )
  DEVANTA GALLON and                                    )
  JAMAR COLEMAN,                                        )
                                                        )
                         Defendants.                    )

                                           INDICTMENT

                                            COUNT ONE

         The Grand Jury charges that:

             Beginning on an unknown date and continuing for a time period, including June

  2018, with the exact dates unknown, within the Eastern District of Missouri and elsewhere,

  the defendants,

                                      DEVANTA GALLON and
                                       JAMAR COLEMAN,


  did knowingly and willfully conspire, combine, confederate and agree together with each other

  and persons both known and unknown tothis Grand Jury, to commit offenses against the United

  States, to wit: to knowingly and intentionally possess with the intent to distribute a quantity of

  marijuana, a Schedule I controlled substance, in violation of Title 21, United States Code, Section

  84l(a)(l); all in violation of Title 21, United States Code, Section 846; and punishable under Title

  21, United States Code, Sections 84l(b)(l)(D) and 846.
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                                            COUNT TWO

        The Grand Jury further charges that:

        On or about June 4, 2018, in the County of St. Louis, within the Eastern District of

  Missouri,

                                      DEVANTA GALLON and
                                        JAMAR COLEMAN,

  the defendants herein, did knowingly and intentionally possess, with the intent to distribute,

  Marijuana, a Schedule I controlled substance drug.

        In violation of Title 21, United States Code, Section 84l(a)(l ), and punishable under Title

  21, United States Code, Section 84l(b)(l)(D).

                                           COUNT THREE

        The Grand Jury further charges that:

        On or about June 4, 2018, in the County of St. Louis, within th~ Eastern District of

  Missouri,

                                     DEVANTA GALLON and
                                       JAMAR COLEMAN,

  the Defendants herein, actmg together, did knowingly possess one or more firearms in

  furtherance of a drug trafficking crime which may be prosecuted in a court of the United States,

  that is, conspiring to possess with the intent to distribute one or more controlled substances as set

  forth in Count One.

       In violation of Title 18, United States Code, Sections 2(a) and 924(c)(l), and punishable

  under Title 18, United States Code, Section 924(c)(l)(A)(i).
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                                            COUNT FOUR

        The Grand Jury further charges that:

        On or about June 4 ,-2018, in the County of St. Louis, within the Eastern District of

  Missouri,

                                        DEVANTA GALLON,

 · the Defendant herein, having been previously convicted of one or more crimes punishable by a
                                                          I

  term of imprisonment exceeding one year, did knowingly possess one or more firearms and

  ammunition, which traveled in interstate or foreign commerce during or prior to being in the

  Defendant's possession.

        Jn violation of Title 18, United States Code, Section 922(g)(l).

                                   FORFEITURE ALLEGATION

          The Grand Jury further finds by probable cause that:

          1.      Pursuant to Title 21, United States Code, Sections 853, upon conviction of an

  offense in violation of Title 21, United States Code, Section 84l(a)(l), as set forth in Count One;

  the defendants shall forfeit to the United States of America any property, constituting or derived

  from any proceeds obtained, directly or indirectly, as the result of such violation(s) and any

  property used or intended to be used, in any manner or part to commit or to facilitate the

  commission of such violation(s).

          2.      Pursuant to Title 18, United States Code, Section, 924(d)(l) and Title 28, United

  States Code, Section 2461(c), upon conviction of an offense of Title 18, United States Code,

  Sections 922 or 924 as set forth in Counts Two and Three, the defendants shall forfeit to the United

  States of America any firearm or ammunition involved in, used or intended to be used in said

  violation(s).
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            3.    Specific property subject to forfeiture includes, but is not limited to, the following:

                  a)      $13,634.00 in United States currency;.

                  b)      One Glock make, 19 model, 9 mm Luger caliber semi-automatic pistol,

            bearing serial number ACLC697;

                  c)      One Sig Sauer make, P226 model, .40 caliber semi-automatic pistol, bearing

            serial number U680872;

                  d)      Various calibers of ammunition and firearms magazines.

            4.    If any of the property described above, as a result of any act or omission'

  of the defendants:

                  a.      cannot be located upon the exercise 9f due diligence;:

                  b.      has been transferred or sold to, or deposited with, a third party; ·

                  c.      has been placed beyond the jurisdiction of the court;

                  d       has been substantially diminished in value; or

                  e.      has been commingled with other property which cannot be divided without

                          difficulty,
       ·•   ·i


  the United States of America will be entitled to the forfeiture of substitute property pursuant to

  Title 21, United States Code, Section 853(p).

                                                         A TRUE BILL


                                                         FOREPERSON

 JEFFREY B. JENSEN
 United States Attorney


 J. CHRISTIAN GOEKE (#39462MO)
 Assistant United States Attorney
